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            EXHIBIT 1
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1     INTRODUCTION

The purpose of this Test Report is to document the procedures that Pro V&V, Inc. followed to
perform certification testing of the Dominion Voting Systems D-Suite 5.5-A Voting System
Voting System to the requirements set forth for voting systems in the State of Georgia Election
Systems Certification Program.

1.1       Authority

The State of Georgia has a unified voting system whereby all federal, state, and county elections
are to use the same voting equipment. Beginning in 2020, the unified voting system shall be an
optical scanning voting system with ballot marking devices.

The Georgia Board of Elections, under the authority granted to it by the Georgia Election Code,
has the duty to promulgate rules and regulations to obtain uniformity in the practices and
procedures of local election officials as well as to ensure the fair, legal, and orderly conduct of
primaries and elections. The Georgia Board of Elections is to investigate frauds and irregularities
in primaries and elections and report violations for prosecution. It can issue orders, after the
completion of appropriate proceedings, directing compliance with the Georgia Election Code.

The Georgia Secretary of State is designated as the Chief Election Official and is statutorily
tasked with developing, programing, building, and reviewing ballots for use by counties and
municipalities on the unified voting system in the state. The Georgia Election Code provides
that the Secretary of State is to examine and approve an optical scanning voting system and
ballot marking devices prior to their use in the state. County Boards of Elections (CBE) may
only use an optical scanning voting system and ballot marking devices that have been approved
and certified and that may be continuously reviewed for ongoing certification, by the Secretary
of State. The Secretary of State has authority to decertify voting systems. The Secretary of State
has promulgated rules and regulations that govern the voting system certification process.

1.2       References

The documents listed below were utilized in the development of this Test Report:

          Election Assistance Commission Testing and Certification Program Manual, Version 2.0

          Election Assistance Commission Voting System Test Laboratory Program Manual,
           Version 2.0

          Election Assistance Commission 2005 Voluntary Voting System Guidelines (VVSG)
           Version 1.0, Volume I, “Voting System Performance Guidelines”, and Volume II,
           “National Certification Testing Guidelines”



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          National Voluntary Laboratory Accreditation Program NIST Handbook 150, 2016
           Edition, “NVLAP Procedures and General Requirements (NIST HB 150-2016)”, dated
           July 2016

          National Voluntary Laboratory Accreditation Program NIST Handbook 150-22, 2008
           Edition, “Voting System Testing (NIST Handbook 150-22)”, dated May 2008

          Pro V&V, Inc. Quality Assurance Manual, Revision 7.0

          United States 107th Congress Help America Vote Act (HAVA) of 2002 (Public Law 107-
           252), dated October 2002

          Dominion Voting Systems D-Suite 5.5-ATechnical Data Package

1.3       Terms and Abbreviations

The terms and abbreviations applicable to the development of this Test Plan are listed
below:

“BMD” – Ballot Marking Device
“COTS” – Commercial Off-The-Shelf
“EAC” – Election Assistance Commission
“EMS” – Election Management System
“FCA” – Functional Configuration Audit
“PCA” – Physical Configuration Audit
“TDP” – Technical Data Package
“VSTL” – Voting System Test Laboratory
“2005 VVSG” – EAC 2005 Voluntary Voting Systems Guidelines

1.4       Background
The State of Georgia identified the Dominion Voting Systems D-Suite 5.5-A Voting System to
be evaluated as part of this test campaign. This report documents the findings from that
evaluation.

1.5       Scope

The state certification test was not intended to result in exhaustive tests of system hardware and
software attributes; these are evaluated during federal compliance testing. However, all system

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functions, which are essential to the conduct of an election in the State of Georgia, were
evaluated.

The scope of this testing event incorporated a sufficient spectrum of physical and functional tests
to verify that the D-Suite 5.5-A Voting System conformed to the State of Georgia requirements.
Specifically, the testing event had the following goals:

        Ensure proposed voting systems provide support for all Georgia election management
         requirements (i.e. ballot design, results reporting, recounts, etc.).

        Simulate pre-election, Election Day, absentee, recounts, and post-election activities on
         the corresponding components of the proposed voting systems for the required election
         scenarios.

2   TEST CANDIDATE

The D-Suite 5.5-A Voting System is a paper-based optical scan voting system consisting of the
following major components: The Election Management System (EMS), the ImageCast Central
(ICC), the ImageCast Precinct (ICP), and the ImageCast X (ICX) BMD. The D-Suite 5.5-A
Voting System configuration is a modification from the EAC approved D-Suite 5.0 system
configuration. The D-Suite 5.5-A Voting System will be configured with the KNOWiNK
Pollpad which utilizes the ePulse Epoll data management system, for voter registration purposes.

The following table provides the software and hardware components of the D-Suite 5.5-A Voting
System that were tested, identified with versions and model numbers:

                             Table 2-1 D-Suite 5.5-A Voting System

                                                   Firmware/Software             Hardware
        D-Suite 5.5-A Voting System Component
                                                          Version                 Model
                                    Software Applications
          EMS Election Event Designer (EED)               5.5.12.1                   ---
         EMS Results Tally and Reporting (RTR)            5.5.12.1                   ---
               EMS Application Server                     5.5.12.1                   ---
            EMS File System Service (FSS)                 5.5.12.1                   ---
               EMS Audio Studio (AS)                      5.5.12.1                   ---
           EMS Data Center Manager (DCM)                  5.5.12.1                   ---
          EMS Election Data Translator (EDT)              5.5.12.1                   ---
          ImageCast Voter Activation (ICVA)               5.5.12.1                   ---
                  EMS Adjudication                         5.5.8.1                   ---
              EMS Adjudication Service                     5.5.8.1                   ---
              Smart Card Helper Service                   5.5.12.1                   ---
           Machine Configuration File (MCF)         5.5.10.19_20180706               ---

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                     Table 2-1 D-Suite 5.5-A Voting System (continued)

                                                 Firmware/Software         Hardware
      D-Suite 5.5-A Voting System Component
                                                        Version             Model
 Device Configuration File (DCF)                   5.4.01_20170521            ---
                      Polling Place Scanner (PPS) and Peripherals
 ImageCast Precinct (ICP)                      5.5.3-0002                PCOS-320C
 ICP Ballot Box                                ---                       BOX-330A
                              EMS Standard Configuration
 Dell Server R640                                          ---              R640
 Dell Precision 3430                                       ---              3430
 Dell Network Switch                                       ---             X10206P
                               EMS Express Configuration
 Dell Precision 3420                                       ---               3420
 Dell Monitor                                              ---              P2419H
 Dell Network Switch                                       ---               X1008
                      Central Scanning Device (CSD) Components
 ImageCast Central                                    5.5.3.0002              ---
 Canon DR-G1130 Scanner                                    ---            DR-G1130
 Canon DR-M160II Scanner                                   ---            DR-M160II
 Dell Optiplex 3050AIO Computer                    Windows 10 Pro          3050AIO
                         ADA Compliant Ballot Marking Device
 Avalue ImageCast X Prime 21” BMD                      5.5.10.30           HID-21V
 HP M402dne Printer                                        ---             M402dne
                                   ePollbook Solution
 KNOWiNK Poll Pad                                          ---           iPad Air Rev. 2
 KNOWiNK ePulse Epoll Data Management
                                                           ---                 ---
 System


2.1    Testing Configuration

The following is a breakdown of the D-Suite 5.5-A Voting System components and
configurations for the test setup:

Standard Testing Platform (D-Suite 5.5-A):

The system will be configured in the EMS Standard configuration with an Adjudication
Workstation. This platform will be used to test all scenarios as provided by the election
definition.

The central office setup will be an EMS Standard configuration accompanied by both Canon
DR-G1130 and Canon DR-M160II Central Scan tabulators and their associated PC’s.

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The precinct polling station setup will consist of ImageCast X Prime 21” BMD’s and ImageCast
Precinct tabulators with plastic ballot boxes. The ImageCast X Prime 21” BMD’s will be set up
as accessible voting stations.

The KNOWiNK Epollbook solution consisting of the Poll Pad and ePulse Epoll data
management system, will be setup and interfaced as required with the EMS Standard
configuration.

Dominion Voting Systems is expected to provide all previously identified software and
equipment necessary for the test campaign along with the supporting materials listed in section
2.2. The State of Georgia is providing the election definitions and ballots.

Express Testing Platform (D-Suite 5.5-A):

The system will be configured in the EMS Express configuration. This platform will be used to
test all scenarios as provided by the election definition.

The central office setup will be an EMS Express configuration accompanied by both Canon DR-
G1130 and Canon DR-M160II Central Scan tabulators and their associated PC’s.

The precinct polling station setup will consist of ImageCast X Prime 21” BMD’s and ImageCast
Precinct tabulators with plastic ballot boxes. The ImageCast X Prime 21” BMD’s will be set up
as accessible voting stations.

The KNOWiNK Epollbook solution consisting of the Poll Pad and ePulse Epoll data
management system, will be setup and interfaced as required with the EMS Standard
configuration.

Dominion Voting Systems provided all previously identified software and equipment necessary
for the test campaign along with the supporting materials ,election definitions, and ballots


2.2       Test Support Equipment/Materials

The following materials, if required, were supplied by Dominion Voting Systems to facilitate
testing:

          USB Flash Drives
          Paper Rolls
          Power Cords



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          Ballot Paper
          Marking Devices
          Pressurized air cans
          Lint-free cloth
          Cleaning pad and isopropyl alcohol
          Labels
          Other materials and equipment as required

3     TEST PROCESS AND RESULTS

The following sections outline the test process that was followed to evaluate the D-Suite 5.5-A
Voting System under the scope defined in Section 1.5.

3.1       General Information

All testing was conducted under the guidance of Pro V&V by personnel verified by Pro V&V to
be qualified to perform the testing. The examination was performed at the Pro V&V, Inc. test
facility located in Cummings Research Park, Huntsville, AL.

3.2       Testing Initialization

Prior to execution of the required test scenarios, the systems under test underwent testing
initialization to establish the baseline for testing and ensure that the testing candidate matched
the expected testing candidate and that all equipment and supplies were present.

The following were completed during the testing initialization:

          Ensure proper system of equipment. Check connections, power cords, keys, etc.
          Check version numbers of (system) software and firmware on all components.
          Verify the presence of only the documented COTS.
          Ensure removable media is clean
          Ensure batteries are fully charged.
          Inspect supplies and test decks.
          Record basic observations of the testing setup and review.
          Record serial numbers of equipment.


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          Retain proof of version numbers.

3.3       Summary Findings

The voting system was evaluated against the requirements set forth for voting systems by the
State of Georgia. A Conditions of Satisfaction Checklist was developed based on each identified
test requirements. Throughout the test campaign, Pro V&V executed tests, inspected resultant
data and performed technical documentation reviews to ensure that each applicable requirement
was met. The Conditions of Satisfaction Checklist is presented in Section 4 of this test report.
The Summary Findings from each area of evaluation are presented in the following sections.

3.3.1 Physical Configuration Audit (PCA) and Setup

Prior to test initiation, the D-Suite 5.5-A Voting System was subjected to a Physical
Configuration Audit (PCA) to baseline the system and ensure all items necessary for testing were
present. This process included validating that the hardware and software components received
for testing matched hardware and software components proposed and demonstrated to the State
during the RFP process. This process also included validating that the submitted components
matched the software and hardware components which have obtained EAC certification to the
Voluntary Voting System Guidelines (VVSG) Standard 1.0, by comparing the submitted
components to the published EAC Test Report. The system was then setup as designated by the
manufacturer supplied Technical Documentation Package (TDP).

Photographs of the system components, as configured for testing, are presented below:




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              Photograph 1: EMS Express Configuration




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             Photograph 2: EMS Standard Configuration




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        Photograph 3: ICC Workstation with Canon DR-G1130




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        Photograph 4: ICC Workstation with Canon DR-M160II




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                   Photograph 5: ICX Prime BMD




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                                  Photograph 6: ePollbok

A pre-certification election was then loaded and an Operational Status Check was performed to
verify satisfactory system operation. The Operational Status Check consisted of processing
ballots and verifying the results obtained against known expected results from pre-determined
marking patterns.




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Summary Findings

During execution of the test procedure, the components of the D-Suite 5.5-A system were
documented by component name, model, serial number, major component, and any other
relevant information needed to identify the component. For COTS equipment, every effort was
made to verify that the COTS equipment had not been modified for use. Additionally, the
Operational Status Check was successfully completed with all actual results obtained during test
execution matching the expected results.

3.3.2 System Level Testing

System Level Testing included the Functional Configuration Audit (FCA), the Accuracy Test,
the Volume and Stress Test, and the System Integration Test. This testing included all
proprietary components and COTS components (software, hardware, and peripherals).

During System Level Testing, the system was configured exactly as it would for normal field use
per the manufacturer. This included connecting the supporting equipment and peripherals.

3.3.2.1 Functional Configuration Audit (FCA)

The Functional Configuration Audit (FCA) encompassed an examination of the system to the
requirements set forth by the State of Georgia Election Systems Certification Program as
designed in the Test Plan, and which are included in this report in the Conditions of Satisfaction
Checklist.

Summary Findings

The D-Suite 5.5-A system successfully passed the FCA Tests without any noted issues. The
individual testing requirements and their results can be seen in the included Conditions of
Satisfaction Checklist.

3.3.2.2 Accuracy Testing

The Accuracy Test ensured that each component of the voting system could process at least
1,549,703 consecutive ballot positions correctly within the allowable target error rate. The
Accuracy Test is designed to test the ability of the system to “capture, record, store, consolidate
and report” specific selections and absences of a selection. The required accuracy is defined as
an error rate. This rate is the maximum number of errors allowed while processing a specified
volume of data.



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Summary Findings

The D-Suite 5.5-A system successfully passed the Accuracy Test. It was noted during test
performance that the ICP under test experienced a memory lockup after scanning approximately
4500 ballots. The issue was presented to Dominion for resolution. Dominion provided the
following analysis of the issue:

The ICP uClinux operating system does not have a memory management unit (MMU) and, as
such, it can be susceptible to memory fragmentation. The memory allocation services within the
ICP application are designed to minimize the effects of memory fragmentation. However, if the
ICP scans a large number of ballots (over 4000), without any power cycle, it can experience a
situation where the allocation of a large amount of memory can fail at the Operating System
level due to memory fragmentation across the RAM. This situation produces an error message
on the ICP which requires the Poll Worker to power cycle the unit, as documented. Once
restarted, the ICP can continue processing ballots without issue. All ballots scanned and counted
prior to the power cycle are still retained by the unit; there is no loss in data.

Pro V&V performed a power cycle, as instructed by Dominion, and verified that the issue was
resolved and that the total ballot count was correct. Scanning then resumed with no additional
issues noted.

A total of 1,569,640 voting positions were processed on the system with all actual results
verified against the expected results. The individual testing requirements and their results can be
seen in the included Conditions of Satisfaction Checklist.

3.3.2.3 Volume and Stress Testing

The Volume & Stress Tests consisted of tests designed to investigate the system’s ability to meet
the requirement limits and conditions set forth by the State of Georgia Election Systems
Certification Program as designed in the Test Plan, and which are included in this report in the
Conditions of Satisfaction Checklist.

Summary Findings

The D-Suite 5.5-A system successfully passed the Volume and Stress Tests without any noted
issues. The individual testing requirements and their results can be seen in the included
Conditions of Satisfaction Checklist.




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3.3.2.4 System Integration Test

System Integration is a system level test that evaluates the integrated operation of both hardware
and software. System Integration tests the compatibility of the voting system software
components, or subsystems, with one another and with other components of the voting system
environment. This functional test evaluates the integration of the voting system software with the
remainder of the system.

During test performance, the system was configured as it would be for normal field use, with a
new election created on the EMS and processed through the system components to final results.

Summary Findings

The D-Suite 5.5-A system successfully passed the System Integration Test without any noted
issues. The individual testing requirements and their results can be seen in the included
Conditions of Satisfaction Checklist.

3.3.3 e-Pollbook Testing

The ePolllbook Test evaluated the ability of the designated ePollbook to produced voter
activation cards that could be successfully processed by the BMD.

Summary Findings

The D-Suite 5.5-A system successfully passed the ePollbook Test without any noted issues. The
individual testing requirements and their results can be seen in the included Conditions of
Satisfaction Checklist.

3.3.4 Ballot Copy Testing

The Ballot Copy Test evaluated the ability of a photocopy of a ballot produced by the system to
be successfully processed by the system’s tabulators.

Summary Findings

The D-Suite 5.5-A system successfully passed the Ballot Copy Test without any noted issues.
The individual testing requirements and their results can be seen in the included Conditions of
Satisfaction Checklist.




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3.3.5 Trusted Build and Software Hash Delivery

At test campaign conclusion, HASH signatures and software installation packets of the tested
software were generated for delivery to the State of Georgia.

4   Conditions of Satisfaction

The voting system was evaluated against the requirements set forth for voting systems by the
EAC 2005 VVSG and the State of Georgia. Throughout this test campaign, Pro V&V executed
tests, inspected resultant data and performed technical documentation reviews to ensure that each
applicable requirement was met. The Conditions of Satisfaction Checklist developed for this test
campaign is presented in Table 4-1.

                        Table 4-1 Conditions of Satisfaction Checklist


                      DOMINION Conditions of Satisfaction Checklist

        Area                               Condition                            Test Result

                    Single FCA Test Election database(s) containing
        FCA         Republican and Democratic Primaries (Open Primary)             PASS
                    and one Non-Partisan election


        FCA         Database is being built for a single county jurisdiction       PASS


                    Republican Primary = 5 Races (1 statewide, 2
        FCA                                                                        PASS
                    countywide, 3 county district level)

                    Democratic Primary = 5 Races (1 statewide, 1
        FCA         countywide, 1 state district level, 2 county district          PASS
                    level)

        FCA         Non-Partisan Election = 1 Race (1 statewide)                   PASS


                    Republican and Democratic races contain 1 to 8
        FCA                                                                        PASS
                    candidates per race, no write-in candidates




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        Table 4-1 Conditions of Satisfaction Checklist (continued)


            DOMINION Conditions of Satisfaction Checklist

Area                             Condition                             Test Result

FCA       Non-Partisan race contains 4 candidates and 1 write-in          PASS


FCA       All races are Vote for One                                      PASS


          County contains 5 Precincts, for results reporting
FCA                                                                       PASS
          purposes

          Each precinct is split at both state district and county
FCA                                                                       PASS
          district level

          Election Day Voting [4 total], 1 Vote Center
FCA                                                                       PASS
          containing 2 precincts

          Election Day Voting [4 total], 3 Polling Locations
FCA                                                                       PASS
          containing 1 precinct each
          Advance Voting [2 total], Each polling location
FCA                                                                       PASS
          houses all 5 Precincts

          Prepare election media from EMS to program PPS’s
FCA       (Polling Place Scanners) and BMD’s for Advance                  PASS
          Voting Polling locations

          Prepare election media from EMS to program PPS’s
FCA                                                                       PASS
          and BMD’s for Election Day Polling locations


          Prepare election media from EMS to program CSD’s
FCA       (Central Scan Devices) system for processing of mail-           PASS
          out absentee ballots and provisional ballots




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        Table 4-1 Conditions of Satisfaction Checklist (continued)


            DOMINION Conditions of Satisfaction Checklist

Area                            Condition                            Test Result
          Prepare election media from EMS to program CSD’s
FCA       for processing Advance Voting ballots generated by            PASS
          BMDs
          Prepare election media from EMS to program CSD’s
FCA       for processing Election Day ballots generated by              PASS
          BMDs

          Produce watermarked Sample ballots for public
FCA                                                                     PASS
          distribution


          Prepare a test deck (Deck 1) of voted ballots with a
          known result using all available vote positions on all
FCA                                                                     PASS
          ballot styles generated by the test scenario, including
          write-ins, overvotes, undervotes, and blank ballots.


          Prepare an Absentee test deck (Deck 2) of voted
          absentee ballots with a known result, to be used on the
FCA                                                                     PASS
          CSD, including write-ins, overvoted races, and blank
          ballots.

          Vote test deck (Deck 1) on each BMD and print BMD
FCA                                                                     PASS
          ballots for each ballot in the test deck

          Scan ballots created from the BMD’s into the
FCA                                                                     PASS
          associated PPS’s


          Scan the Absentee test deck (Deck 2) on the CSD and
          confirm the CSD separates ballots by various
FCA                                                                     PASS
          conditions for physical review when scanning (i.e..
          Overvotes, blank ballots, write-ins, etc.)




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           Table 4-1 Conditions of Satisfaction Checklist (continued)


               DOMINION Conditions of Satisfaction Checklist

 Area                             Condition                             Test Result
             Prepare printouts from PPS’s documenting results
 FCA                                                                       PASS
             tabulated and verify them against test deck

             Prepare printouts from CSD documenting results                PASS
 FCA
             tabulates and verify them against test deck


 FCA         Scan ballots created from BMD’s on the CSD                    PASS


             Prepare printouts from CSD documenting results                PASS
 FCA         tabulated and verify them against Absentee test deck
             (Deck 2)

             Upload to EMS the election media used in PPS and              PASS
 FCA
             CSD devices

             Prepare printouts from EMS documenting the results            PASS
 FCA
             tabulated and verify them against test deck contents

             Prepare printouts documenting results at various              PASS
 FCA
             reporting levels:

             Prepare printouts documenting results at various              PASS
 FCA
             reporting levels: Precinct

             Prepare printouts documenting results at various
 FCA                                                                       PASS
             reporting levels: Polling Place

             Prepare printouts documenting results at various
 FCA                                                                       PASS
             reporting levels: vote Type

Accuracy     Create Accuracy Test Election:                                PASS




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           Table 4-1 Conditions of Satisfaction Checklist (continued)


               DOMINION Conditions of Satisfaction Checklist

 Area                               Condition                            Test Result

Accuracy     General election                                               PASS


Accuracy     21 Contests in election                                        PASS


Accuracy     2 Column Ballot                                                PASS


Accuracy     5 Precincts                                                    PASS


Accuracy     Election is produced at County Level                           PASS


Accuracy     No Counting Groups                                             PASS


Accuracy     Incumbency is supported                                        PASS


Accuracy     No Straight Party Voting                                       PASS


             Non-Partisan contests only (Candidates are not                 PASS
Accuracy     directly linked to parties, but are labeled by party on
             the ballot)

             Parties (for labeling purposes):                               PASS
             o Democratic
Accuracy     o Republican
             o Libertarian (Recognized as 3rd party)
             o Independent


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           Table 4-1 Conditions of Satisfaction Checklist (continued)


               DOMINION Conditions of Satisfaction Checklist

 Area                               Condition                             Test Result

Accuracy     Write-Ins present in all races                                 PASS


Accuracy     Proposed State Wide Referendums                                PASS


Accuracy     Advance Voting (Early Voting)                                  PASS


Accuracy     Elections for Judges are Non-Partisan                          PASS

             N of M Voting
Accuracy     o Test N of M – 6 of 8                                         PASS
             o Test N of M – 8 of 10
             1000 Ballots printed from BMD using 3 units as
Accuracy     follows (Unit 1: 250 ballots, unit 2: 250 ballots, unit 3:     PASS
             500 ballots)

             Run the Accuracy Test Election on BMD & Verify                 PASS
Accuracy
             results against known expected results

             Run the Accuracy Test Election on PPS & Verify                 PASS
Accuracy
             results against known expected results

             Run the Accuracy Test Election on CSD & Verify                 PASS
Accuracy
             results against known expected results

             Reporting:                                                     PASS
Accuracy
             Winners: Contest reports review

             Reporting:                                                     PASS
Accuracy     Results: Precinct summary reports, precinct-based
             reporting, reporting by Congressional District Level


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           Table 4-1 Conditions of Satisfaction Checklist (continued)


               DOMINION Conditions of Satisfaction Checklist

 Area                              Condition                             Test Result

             Election Night Reporting: Export Election Night                PASS
Accuracy     Results in the following formats:
             o Common Data Format (CDF)

             Election Night Reporting: Export Election Night                PASS
Accuracy     Results in the following formats:
             o Non-CDF

             Accuracy in ballot counting and tabulation shall
Accuracy     achieve 100% for all votes cast (1,549,703 ballot              PASS
             positions)

 V&S         Volume & Stress Open Primary Election                          PASS


 V&S         400 Precincts                                                  PASS


 V&S         1 County                                                       PASS


 V&S         150 Ballot Styles                                              PASS


 V&S         30 Ballot Styles in 1 Precinct                                 PASS


 V&S         3 Languages (English, Spanish, Korean)                         PASS


 V&S         100 Contests                                                   PASS




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        Table 4-1 Conditions of Satisfaction Checklist (continued)


            DOMINION Conditions of Satisfaction Checklist

Area                            Condition                            Test Result

V&S       30 candidates in 1 contest                                   PASS


V&S       Referendum (Approximately 15000 words)                       PASS


          Referendum: Test using 10pt Arial Font (Currently            PASS
V&S
          used in State of Georgia)

          Referendum: Test using 12pt Sans Serif font (To              PASS
V&S
          Accommodate future changes)


V&S       Referendum: Verify at Normal Size                            PASS


          Referendum: Verify when Zoomed-In (Text size                 PASS
V&S
          increased)

          Candidate Name Lengths – (Must support 25
V&S       characters) – Verify to make sure they display               PASS
          properly

V&S       Candidate Name Lengths – Check Translations                  PASS


          Candidate Name Lengths – Check appearance on                 PASS
V&S
          BMD Printed Ballot

          Candidate Name Lengths – Check appearance on                 PASS
V&S
          Ballot Review Screen

          Candidate Name Lengths – Check appearance on                 PASS
V&S       BMD Ballot and Ballot Review Screen when Zoomed
          In or using the provided magnification tool


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              Table 4-1 Conditions of Satisfaction Checklist (continued)


                  DOMINION Conditions of Satisfaction Checklist

   Area                                Condition                           Test Result
                Tabulator Reports – Tabulators print 3 copies of Zero         PASS
   V&S
                Proof Reports, and Results Reports

                Run the V&S Test Election on BMD & Verify results             PASS
   V&S
                against known expected results

                Run the V&S Test Election on PPS & Verify results             PASS
   V&S
                against known expected results

                Run the V&S Test Election on CSD & Verify results             PASS
   V&S
                against known expected results

                Reporting:                                                    PASS
   V&S
                Winners: Contest reports review

                Reporting:                                                    PASS
   V&S          Results: Precinct summary reports, precinct-based
                reporting, reporting by Congressional District Level

                Verify that the Pollbook can program voter activation         PASS
Epollbook
                cards for BMD

                Verify that voter activation cards activate the correct       PASS
Epollbook
                ballot styles when used on the BMD’s


                Verify whether or not a ballot produced by the BMD,           PASS
Ballot Copy     can be photocopied, and then have the photocopied
                ballot be successfully cast on:


  System        Build a SI Test Election on EMS (At minimum                   PASS
Integration     include 2 contests, write-in, referendum, etc.)



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              Table 4-1 Conditions of Satisfaction Checklist (continued)


                  DOMINION Conditions of Satisfaction Checklist

  Area                                Condition                            Test Result
  System        Run the SI Test Election on BMD & Verify results              PASS
Integration     against known expected results

  System        Run the SI Test Election on PPS & Verify results              PASS
Integration     against known expected results

  System        Run the SI Test Election on CSD & Verify results              PASS
Integration     against known expected results

  System        Reporting:                                                    PASS
Integration     Winners: Contest reports review

                Reporting:
  System
                Results: Precinct summary reports, precinct-based             PASS
Integration
                reporting, reporting by Congressional District Level




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